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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

GARY L. TATUM                            :
                                         :       CIVIL ACTION NO.
      Plaintiff,                         :       3:08-CV-1251 (JCH)
                                         :
      v.                                 :
                                         :
MARY CHRISTINA OBERG, ET AL.,            :       SEPTEMBER 3, 2009
                                         :
      Defendants.                        :


           RULING RE: DEFENDANTS’ MOTION TO DISMISS (Doc. No. 78)

I.    INTRODUCTION

      Plaintiff, Gary Tatum (“Tatum”), brings this action against defendants, Mary

Christina Oberg (“Oberg”) and Ford, Oberg, Manion & Houck, P.C. (“FOMH”), for

damages he allegedly sustained from the defendants’ representation of Tatum in an

action to dissolve Tatum’s marriage to Kathleen J. Murphy (“Murphy”). Tatum asserts

state law causes of action for fraud, breach of contract and malpractice, and under the

Connecticut Unfair Trade Practices Act (“CUTPA”). Oberg and FOMH move the court

under Fed. R. Civ. P. 12(b)(1) to dismiss Tatum’s claims on the ground that the court

lacks subject matter jurisdiction to hear such claims. In the alternative, Oberg and

FOMH move the court under Fed. R. Civ. P. 12(b)(6) to dismiss Tatum’s fraud, breach

of contract, and CUTPA claims on the ground that Tatum has failed to state a claim

upon which relief can be granted. For the following reasons, the court DENIES the

Motion to Dismiss on lack of subject-matter jurisdiction grounds. The court GRANTS IN

PART and DENIES IN PART the Motion to Dismiss on the ground of failure to state a



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claim upon which relief can be granted.

II.     FACTUAL BACKGROUND

        On or about February 12, 2002, Tatum retained FOMH to represent him in an

action to dissolve Tatum’s marriage to Murphy. Am. Comp. at ¶ 10. At that time,

Tatum paid FOMH a $4,500 retainer and entered into a written agreement for legal

services. Id. at ¶ 10. FOMH then assigned the case to Oberg, a partner in the firm. Id.

at ¶ 12. FOMH’s representation of Tatum in matters related to the dissolution

continued through July 2005. Id. at ¶ 18.

        Tatum contends that, between February 12, 2002, and July 2005, Oberg and

FOMH engaged in a course of conduct that included both intentional and negligent

misconduct. Tatum alleges that Oberg intentionally made false statements to Tatum

during this period for the purpose of inducing Tatum to agree to an unfavorable

settlement agreement with Murphy. Id. at ¶ 13. These alleged false statements

included that Oberg had requested and received all relevant information related to

Murphy’s finances, that Tatum could recover “a fair share” of any of Murphy’s assets

that were undisclosed at the time of settlement, and that Tatum, pursuant to a clause in

the settlement agreement, would be able to recover all assets not specifically set forth

in Murphy’s financial affidavits. Id. at ¶¶ 12(a)-12(d).1

        More generally, Tatum alleges that Oberg and FOMH acted negligently by, inter

alia, providing incorrect and untimely legal advice to Tatum, failing to engage in

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           The court interprets Am . Com p. ¶ 12(e) as a statem ent that the alleged m isrepresentations set
forth in ¶¶ 12(a)-12(d) constitute a course of conduct designed to conceal m isrepresentations of law and
fact. The court does not interpret ¶ 12(e) as a statem ent that Oberg falsely represented to Tatum that
Oberg or FOMH engaged in such a course of conduct. Such an interpretation would be inconsistent with
the rest of the Am ended Com plaint.

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adequate discovery, billing Tatum for both unnecessary and unperformed legal work,

and failing to apprise Tatum of various costs and risks related to the representation. Id.

at ¶¶ 19-25.

       Tatum contends that Oberg and FOMH’s conduct caused Tatum economic harm

over the course of the representation. Notably, Tatum contends that, due to his

reliance on Oberg’s fraudulent statements, Tatum entered a settlement agreement that

failed to account for $100,000 in assets that Murphy allegedly concealed during the

dissolution proceeding. Id. at ¶ 15. Tatum also argues that his reliance on Oberg’s

misrepresentations adversely led to an increase in the amount of child support that

Tatum was required to pay under the settlement agreement. Id.

III.   STANDARD OF REVIEW

       In deciding this Motion to Dismiss, the court takes the allegations of Tatum’s

Amended Complaint as true and construes them in a manner favorable to Tatum.

Hoover v. Ronwin, 466 U.S. 558, 587 (1984); Grandon v. Merrill Lynch & Co., 147 F.3d

184, 188 (2d Cir. 1998); Scheuer v. Rhodes, 416 U.S. 232, 236 (1974), overruled on

other grounds, Davis v. Scherer, 468 U.S. 183 (1984). The court must draw all

reasonable inferences in Tatum’s favor. See, e.g., Yung v. Lee, 432 F.3d 132, 146 (2d

Cir. 2005) (discussing Rule 12(b)(6) motion to dismiss); Lunney v. United States, 319

F.3d 550, 554 (2d Cir.2003) (internal citations omitted) (discussing Rule 12(b)(1) motion

to dismiss).

       The court’s analysis is guided by Fed. R. Civ. P. 8(a)(2) (“Rule 8(a)(2)”), which

requires “a short and plain statement of the claim showing that the pleader is entitled to

relief.” The Supreme Court has recently articulated that Rule 8(a)(2) “requires factual

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allegations sufficient ‘to raise a right to relief above the speculative level.’” Boykin v.

KeyCorp, 521 F.3d 202, 213-14 (2d Cir. 2008) (quoting Bell Atlantic Corp. v. Twombly,

127 S.Ct. 1955, 1965 (2007)). This “plausibility standard” in Twombly “is not akin to a

‘probability requirement,’ but it asks for more than a sheer possibility that a defendant

has acted unlawfully.” Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009) (quoting

Twombly).

IV.     DISCUSSION

        A.      Defendants’ Motion to Dismiss for Lack of Subject Matter Jurisdiction

        Because Tatum has presented only state law claims, jurisdiction in this case is

premised on diversity of citizenship under 28 U.S.C. § 1332(a)(1).2 Am. Comp. ¶ 2.

Oberg and FOMH do not contest that Tatum is a citizen of Texas and both Oberg and

FOMH are citizens of Connecticut. Am. Comp. ¶¶ 7-9. Oberg and FOMH argue,

however, that the court lacks subject matter jurisdiction because Tatum cannot recover

the requisite minimum amount in controversy, which is $75,000. See 28 U.S.C. §

1332(a); Def.'s Mem. in Supp. at ¶ 5.

        Under the law of this Circuit, “[a] party invoking the jurisdiction of the federal

court has the burden of proving that it appears to a ‘reasonable probability’ that the

claim is in excess of the statutory jurisdictional amount.” Tongkook Am., Inc. v. Shipton

Sportswear Co., 14 F.3d 781, 784 (2d Cir.1994). Once the party invoking jurisdiction

alleges an amount exceeding the jurisdictional threshold, there exists “a rebuttable

presumption that the face of the complaint is a good faith representation of the actual

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          Tatum also asserts that jurisdiction in this action is proper under 28 U.S.C. § 1331, 42 U.S.C. §§
1983 and 1985, and 28 U.S.C. § 2201. Am . Com p. ¶ 5. Tatum ’s claim s for relief, however, plainly fail to
present a federal question.

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amount in controversy.” Wolde-Meskel v. Vocational Instruction Project Cmty. Servs.,

Inc., 166 F.3d 59, 63 (2d Cir.1999). The party opposing jurisdiction can overcome this

presumption by demonstrating “to a legal certainty” that the plaintiff cannot recover the

jurisdictional amount. St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 289

(1938).

       In this case, Tatum has claimed economic damages for fraud, breach of

contract, malpractice, and CUTPA violations; punitive damages under CUTPA; statutory

damages under CUTPA; and attorneys fees. While Tatum will be unable to recover on

most of these claims as currently pleaded, see infra, he has nonetheless established a

“reasonable probability” that his claims are for an amount in excess of $75,000. Tatum

alleges that, due to promises made to him by Oberg, he is entitled to $100,000 worth of

assets that Murphy fraudulently concealed from Tatum during the dissolution

proceeding. See Am. Comp. at ¶¶ 12(d), 15. Despite the defendants’ argument that

Tatum’s claim to the entire amount of the concealed assets is speculative, Tatum is

entitled to the “face-of-the complaint presumption” that $100,000 is a good-faith

representation of the actual amount in controversy. See Scherer v. Equitable Life

Assurance Soc’y of the U.S., 347 F.3d 394, 397 (2d Cir. 2003). The defendants have

failed to demonstrate to a legal certainty that Tatum’s claim is really for less than

$75,000.

       The Defendants’ motion to dismiss based on lack of subject-matter jurisdiction is

thus DENIED.

       B.     Defendants’ Motion to Dismiss for Failure to State a Claim Upon Which
              Relief Can Be Granted


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              1.     First Claim for Relief: Fraud

       Oberg and FOMH first move to dismiss Tatum’s fraud claim. Under Connecticut

law, a fraud claim is established if “(1) a false representation was made as a statement

of fact; (2) the statement was untrue and known to be so by its maker; (3) the statement

was made with the intent of inducing reliance thereon; and (4) the other party relied on

the statement to his detriment.” Weinstein v. Weinstein, 275 Conn. 671, 685 (Conn.

2005). In this case, Tatum alleges that Oberg and FOMH committed fraud because

Oberg made numerous false statements of fact related to Tatum’s dissolution action

(see, supra section II); Oberg knew such statements to be untrue; Oberg intended to

induce Tatum to rely on her statements; and Tatum relied on Oberg’s statements to his

detriment. Am. Comp. at ¶ 12-15.

       Ordinarily, Rule 8(a)(2) requires “a short and plain statement of the claim

showing that the pleader is entitled to relief.” Plaintiffs pleading fraud, however, are

subject to the heightened requirements of Fed. R. Civ. P. 9(b) (“Rule 9(b)”). Under Rule

9(b), a party alleging fraud “must state with particularity the circumstances constituting

fraud or mistake.” Under the law of this Circuit, a party pleading fraud must therefore

“(1) specify the statements that the plaintiff contends were fraudulent, (2) identify the

speaker, (3) state where and when the statements were made, and (4) explain why the

statements were fraudulent.” Rombach v. Chang, 355 F.3d 164, 170 (2d Cir. 2004)

(quoting Mills v. Polar Molecular Corp., 12 F.3d 1170, 1175 (2d Cir. 1993)).

       In this case, the first two requirements of Rule 9(b)’s heightened pleading

standard are satisfied. Tatum’s Amended Complaint clearly specifies the statements of

fact he contends were fraudulent and identifies Oberg as the speaker.

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       The third requirement of Rule 9(b), however, is not satisfied. While Tatum

indicates that Oberg made allegedly fraudulent statements between February 12, 2002,

and July 2005, Tatum does not use sufficient precision in stating when and where

Oberg made such statements. A span of approximately forty-one months is clearly

insufficient to meet the particularity requirements of Rule 9(b). See, e.g., Alnwick v.

European Micro Holdings, Inc., 281 F. Supp. 2d 629, 640 (E.D.N.Y. 2003) (finding a

“four-month period of time . . . insufficient to satisfy the pleading standards of Rule

9(b)”); Skylon Corp. v. Guilford Mills, Inc., 1997 WL 88894, at *2 (S.D.N.Y. Mar.3,

1997) (finding that “a four-month window during which all of the misrepresentations

occurred . . . does not satisfy the pleading standard of Rule 9(b)”).

       It is also worth noting that Tatum does not specify facts in support of his

assertion that Oberg knew her allegedly fraudulent statements to be false and made

them for the purpose of inducing Tatum to rely on them. While Rule 9(b) states that the

scienter element of fraud “may be alleged generally,” pleadings with respect to scienter

must still comply with the requirements of Rule 8(a)(2). See Ashcroft v. Iqbal, 129 S.Ct.

1937, 1954 (2009). As the Supreme Court has held, a pleading offering merely “labels

and conclusions” or “a formulaic recitation of the elements of a cause of action” is

insufficient to satisfy Rule 8(a)(2). Twombly, 550 U.S. at 555. In this case, Tatum’s

Amended Complaint contains merely a bare-bones assertion of scienter. It alleges no

“facts that give rise to a strong inference of fraudulent intent,” as is required by the law

of this Circuit. Shields v. Citytrust Bancorp, Inc., 25 F.3d 1124, 1128 (2d Cir. 1994).

       For the foregoing reasons, the motion to dismiss Tatum’s fraud claim is

GRANTED. Tatum may move within 30 days for leave to replead a fraud claim, if he

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has a factual and legal basis to do so. A proposed amended complaint should be

attached to any motion for leave to replead.

              2.     Second Claim for Relief: Breach of Contract

       The defendants next move to dismiss Tatum’s breach of contract claim. Tatum

contends that Oberg and FOMH had a contractual duty to provide Tatum with timely

and correct legal advice, and breached this duty by, inter alia, failing to engage in

adequate discovery, billing Tatum for unnecessary legal research, and failing to advise

Tatum regarding certain costs and risks related to the representation. Am. Comp. ¶ 19.

Tatum also argues that Oberg’s alleged false statements to Tatum over the course of

the representation constitute a breach of contract. Am. Comp. ¶ 17. In response, the

defendants argue that Tatum’s breach of contract claim is really a malpractice claim

couched in contract language. See Def.’s Mem. in Supp. at 12.

       Under Connecticut law, the elements of a breach of contract are “the formation

of an agreement, performance by one party, breach of the agreement by the other party

and damages.” Rosato v. Mascardo, 82 Conn. App. 396, 411 (Conn. App. Ct. 2004)

(quoting Bouchard v. Sundberg, 80 Conn. App. 180, 189 (Conn. App. Ct. 2003)). In

general, a client may sue his or her attorney for either breach of contract, negligence or

both. Conn. Educ. Ass’n, Inc. v. Milliman USA, Inc., 105 Conn. App. 446, 458 (Conn.

App. Ct. 2008). See also Mac's Car City, Inc. v. DeNigris, 18 Conn. App. 525, 529-30

(Conn. App. Ct. 1989). The court must dismiss a claim for breach of contract, however,

if the claim is in fact “a claim that one has breached a standard of care in the language

of contract.” Caffery v. Stillman, 79 Conn. App. 192, 197 (Conn. Ct. App. 2003). See

also Gazo v. City of Stamford, 255 Conn. 245, 263 (Conn. 2001) (“[W]e look beyond

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the language used in the complaint to determine what the plaintiff really seeks. . . .

[P]utting a contract tag on a tort claim will not change its essential character.”).

        Tatum’s breach of contract and malpractice claims are based largely on the

same underlying facts. The only difference in this respect is that the malpractice claim,

but not the breach of contract claim, rests in part on allegations that Oberg and FOMH

“[c]onceal[ed] discovery and/or fail[ed] to obtain discovery that would have alerted

Plaintiff to their failure to comply with the standard of care,” and “[f]ail[ed] to respond to

Plaintiff’s request regarding the manner in which the case proceeded.” Am. Comp. ¶

19(f)-19(g).3 Despite similar factual underpinnings, Tatum asserts that his breach of

contract claim derives from Oberg and FOMH’s “contractual duty to provide timely and

correct legal advice to Plaintiff,” and that his malpractice claim derives from the

defendants’ “duty to provide Plaintiff with professional services equal to the degree of

skill and learning commonly applied under the circumstances then and there existing by

a prudent member of the legal profession.” Am. Comp. ¶¶ 18, 18.4

        Under Connecticut law, where a plaintiff’s complaint alleges that the defendant

“negligently performed legal services and failed to use due diligence the complaint

sounds in negligence.” Shuster v. Buckley, 5 Conn. App. 473, 478 (Conn. App. Ct.

1985). A breach of contract claim will lie, however, if the plaintiff alleges that the

defendant attorney failed to perform specific actions required of him or her; if the

defendant affirmatively refused to perform certain actions; or if the defendant failed to

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          This citation refers to the paragraph num bered 19 on page 6 of the Am ended Com plaint. There
are three additional paragraphs num bered 19 on page 5.

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           Tatum ’s Am ended Com plaint contains three paragraphs num bered 18; see pages 5-6. This
citation refers to the second paragraph 18 on page 5, and paragraph 18 on page 6.

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obtain a specific agreed-upon result. Weiner v. Clinton, 106 Conn. App. 379, 385

(Conn. App. Ct. 2008). See also Conn. Educ. Ass’n, Inc., 105 Conn. App. 446 (Conn.

App. Ct. 2008) (denying a motion to dismiss a breach of contract claim against an

attorney where “[t]he plaintiff's allegations refer to specific actions required by the

plaintiff, that is, that the defendant maintain the pension plan in compliance with the

Internal Revenue Service code and ERISA”); Hill v. Williams, 74 Conn. App. 654, 659-

60 (Conn. App. Ct. 2003) (denying motion to dismiss a breach of contract claim against

an attorney where attorney affirmatively refused to perform actions “in furtherance of

the matters for which the defendant had been hired”).

       Tatum’s breach of contract claim is nearly identical to his malpractice claim.

While Tatum’s malpractice claimed is premised on two additional factual allegations, as

noted above, this case is ultimately indistinguishable from Weiner, supra. In that case,

the Connecticut Appellate Court found that the trial court “properly pierced the pleading

veil and concluded that the plaintiffs’ claim was one sounding in malpractice masked in

contract garb.” 106 Conn. App. at 385-86. In Weiner, as in this case, the plaintiffs’

breach of contract claim alleged that the attorney-defendant failed to file the proper

motions, conduct adequate discovery, and advise the plaintiff “of the status of the

proceedings” at a particular stage of the litigation. Id. at 386 n.5. As in this case, the

Weiner plaintiffs’ malpractice allegation reiterated the breach of contract charge

verbatim. Id. As in this case, the Weiner plaintiffs provided no written contract to the

court. Id. at 386 n.6. Tatum has not alleged that Oberg or FOMH failed to perform

specific actions required of them, affirmatively refused to perform any action, or

breached an agreement to obtain a particular result. The court thus finds that Tatum’s

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breach of contract claim amounts to an allegation that Oberg and FOMH were negligent

in their representation of Tatum.

       For the foregoing reasons, the motion to dismiss Tatum’s breach of contract

claim is GRANTED. Tatum may move within 30 days for leave to replead a breach of

contract claim, if he has a factual and legal basis to do so. A proposed amended

complaint should be attached to any motion for leave to replead.

              3.      Fourth Claim for Relief: CUTPA

       Oberg and FOMH next move to dismiss Tatum’s claims under CUTPA. CUTPA,

which regulates unfair competition and unfair or deceptive acts or practices taking place

in Connecticut, provides that, “[n]o person shall engage in unfair methods of

competition and unfair or deceptive acts or practices in the conduct of any trade or

commerce.” Conn. Gen.Stat. § 42-110b(a). CUTPA defines “trade” and “commerce”

as “the advertising, the sale or rent or lease, the offering for sale or rent or lease, or the

distribution of any services and any property, tangible or intangible, real, personal or

mixed, and any other article, commodity, or thing of value in this state.” Conn. Gen.

Stat. § 42-110a(4).

       It is well established that CUTPA regulates the “entrepreneurial or commercial

aspects of the profession of law,” but does not apply to claims of legal malpractice.

Haynes v. Yale-New Haven Hosp., 243 Conn. 17, 34-35 (Conn. 1997). See also

Suffield Dev. Assocs. Ltd. P’ship v. Nat’l Loan Investors, L.P., 260 Conn. 766, 781

(Conn. 2002) (“Suffield”). Thus, the central question for the court in considering

Tatum’s CUTPA claim against Oberg and FOMH is whether the conduct underlying the

CUTPA claim “is part of the attorney’s professional representation of a client or is part

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of the entrepreneurial aspect of practicing law.” Id. at 782.

        Tatum’s Amended Complaint asserts that Oberg and FOMH engaged in conduct

that constituted an unfair trade practice by, inter alia, sending Tatum billing statements

that falsely represented that discovery had been obtained, vetted, and reviewed;

encouraging Tatum to enter a settlement with Murphy to increase the amount of legal

fees Tatum had to pay; making false statements over the course of the representation;

and failing to provide timely and correct legal advice. Am. Comp. ¶¶ 22-24, 1,5 12, 19.

Although the conduct Tatum alleges may be actionable as professional malpractice, the

court concludes that such conduct relates to the defendants’ representation of Tatum

and is not part of the entrepreneurial aspect of legal practice.

        To begin, some of the alleged conduct underlying Tatum’s CUTPA claim must

plainly be considered outside of the entrepreneurial aspects of practicing law.

Informing a client of his rights in a proposed settlement, providing him with legal advice,

and filing discovery motions are some of the core tasks of a lawyer hired to represent a

client in a dissolution action. These actions, even if performed in an intentionally

deceptive manner, do not fall within the ambit of CUTPA. The Connecticut Supreme

Court has expressly rejected the argument that CUTPA applies per se to intentional

misconduct designed to increase an attorney’s profit or fees. Suffield, 260 Conn. at

782-83. Rather, the Connecticut Supreme Court has held that CUTPA’s

“‘entrepreneurial’ exception is . . . a specific exception from CUTPA immunity for a

well-defined set of activities--advertising and bill collection, for example.” Id. at 782


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         This citation refers to the paragraph labeled “1.” on page seven of the Am ended Com plaint,
under the subheading for the Fourth Claim for Relief.

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(citations omitted).

       The only allegation in the Amended Complaint that might plausibly fall within this

“well-defined set of activities” is that Oberg and FOMH billed Tatum for legal services

that were never performed. The allegation is as follows:

       Defendants, in furtherance of their entrepreneurial aspects of law, sent Plaintiff
       billing statements that inaccurately represented that legal services had been
       rendered when, in fact, they had not. These included, but are not limited to,
       representations that discovery had been obtained, vetted, and reviewed when in
       fact it had not been.

Am. Comp. ¶ 22.

       Oberg and FOMH argue that the claim set forth in paragraph 22 of the Amended

Complaint must be dismissed because it fails to satisfy the Federal Trade

Commission’s “cigarette rule.” Def.’s Mem. in Supp. at 16-17. In general, the

Connecticut courts use the “cigarette rule” to determine whether CUTPA has been

violated. See e.g., Am. Car Rental, Inc. v. Comm’r of Consumer Prot., 273 Conn. 296,

305-06 (Conn. 2005). When the plaintiff has brought allegations of a “deceptive” trade

practice, as opposed to a trade practice that is merely “unfair,” analysis under the

“cigarette rule” is improper. See e.g., Lentini v. Fidelity Nat’l Title Ins. Co. Of N.Y., 479

F. Supp. 2d 292, 303 (D. Conn. 2007); R. Langer, J. Morgan & D. Belt, 12 Connecticut

Practice Series: Unfair Trade Practices § 2.3, p. 25 (2003). In this case, Tatum claims

that Oberg and FOMH billed him for legal services that were never performed. The

court finds that this amounts to an allegation of a “deceptive” practice, as opposed to a

practice that is merely “unfair.” For this reason, analysis under the “cigarette rule” is

inappropriate.

       There is also a question of whether Tatum’s failure to plead his CUTPA claims

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with particularity must result in dismissal. Def.’s Mem. in Supp. at 16. Pursuant to Rule

8(a)(2), plaintiffs in federal court generally need not plead with particularity. Rule 9(b),

which establishes the heightened pleading standard for fraud claims, is an exception.

See supra. It is well established that CUTPA claims need not contain the elements of

fraud. See e.g., Associated Inv. Co. Ltd. P’ship v. Williams Assocs. IV, 230 Conn. 148,

158 (Conn. 1994); Sportsmen's Boating Corp. v. Hensley, 192 Conn. 747, 755 (Conn.

1984). Thus, CUTPA claims brought in federal court only must satisfy Rule 9(b) if such

claims are based on fraud allegations. See, e.g., U.S. ex rel Polied Envtl. Svcs., Inc. v.

Incor Group, Inc., 238 F. Supp. 2d 456, 463 (D. Conn. 2002) (“[A]lthough the

Connecticut courts have required CUTPA claims to be pled with particularity, this

procedural requirement does not apply in federal court.”). In this case, the court

construes paragraph 22 of the Amended Complaint as alleging a deceptive practice

short of fraud. Therefore, this claim need not satisfy Rule 9(b) and cannot be

dismissed on the ground that it has not been pleaded with particularity.6

        For the foregoing reasons, the Motion to Dismiss Tatum’s CUTPA claim

contained in Am. Comp. ¶ 22 is DENIED. The Motion to Dismiss the remainder of

Tatum’s CUTPA claims is GRANTED. Tatum may move within 30 days for leave to

replead any of the dismissed claims, if he has a factual and legal basis to do so. A

proposed amended complaint should be attached to any motion for leave to replead.


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            As stated supra, Rule 9(b) requires a party pleading fraud to “(1) specify the statem ents that the
plaintiff contends were fraudulent, (2) identify the speaker, (3) state where and when the statem ents were
m ade, and (4) explain why the statem ents were fraudulent.” Rom bach, 355 F.3d at 170. Tatum ’s
Am ended Com plaint plainly does not m eet these requirem ents. Therefore, if the allegation contained in
Am . Com p. ¶ 22 is, in fact, based on deceptive acts am ounting to fraud, then it m ust be dism issed under
Rule 9(b). If this is the case, the court grants Tatum leave to replead such a claim in accordance with the
dates provided infra.

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III.   CONCLUSION


       For the foregoing reasons, the court GRANTS the defendants' Motion to Dismiss

Counts I and II of the plaintiff’s Amended Complaint [Doc. No. 78], with the right to

replead. The court GRANTS IN PART and DENIES IN PART the defendants’ Motion to

Dismiss Count IV, with the right to replead all dismissed claims.




SO ORDERED.

       Dated at Bridgeport, Connecticut this 3rd day of September, 2009.

                                            /s/ Janet C. Hall
                                          Janet C. Hall
                                          United States District Judge




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